    8:18-cb-00011-SMB          Doc # 13   Filed: 11/27/18     Page 1 of 1 - Page ID # 33




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         Case No.:    8: \8CB \ I
                      Plaintiff,                  Violation No.: lo25 348a         Nf.22-
       vs.
                                                         ORDER TO APPEAR

SAN7' A 'SINGO\-\ AN
                      Defendant.


         You are ordered to appear for your next court hearing on
f>e.te.robe< :Z l,    , 20.IS.. at ':l: 00 Q.m. in Courtroom No. 7 at the
Roman L. Hruska Federal Courthouse, 111 S. 18th Plaza, Omaha,
Nebraska.

      Failing to appear in court as directed may result in a warrant being
issued for your arrest. You may be subject to an additional charge of
Failure to Appear or a finding of Contempt of Court. Each of these may
be punishable by a term of imprisonment, a fine or both.

       Dated this ~      day of ~ o\lem~er. 20~

                                                  BY THE COURT:

                                                  s/ Susan M. Bazis
                                                  United States Magistrate Judge



Defendant hereby acknowledges receipt of this Order and promises to
appear at the date and time above.



 u/1-7/v,t&
Date                                              De~
